   Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 1 of 6      PageID.1




JUDITH A. PHILIPS                                                          FILED IN THE


Acting United States Attorney
District of Hawaii
                                 SEALED                           UNITED STATES DISTRICT COURT
                                                                        DISTRICT OF HAWAII
                                                                        Sep 29, 2021
                                                                   Michelle Rynne, Clerk of Court
                                 BY ORDER OF THE COURT

MARGARET C. NAMMAR #9045
CRAIG S. NOLAN
Assistant U.S. Attorneys
United States Attorney’s Office
District of Hawaii
Room 6100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Facsimile: (808) 541-2958
Email: Margaret.Nammar@usdoj.gov
        Craig.Nolan@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA


                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,      )         MAG. NO. 21-1194 RT
                               )
               Plaintiff,      )         CRIMINAL COMPLAINT;
                               )         AFFIDAVIT IN SUPPORT
          vs.                  )         OF CRIMINAL COMPLAINT
                               )
JANET PAULINE NELSON,          )
                               )
               Defendant.      )
______________________________ )


                         CRIMINAL COMPLAINT
     Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 2 of 6       PageID.2




       I, the undersigned complainant, being duly sworn, state the following is true

and correct to the best of my knowledge and belief.



                Possession with Intent to Distribute Methamphetamine
                     (21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A))

       On or about September 17, 2021, within the District of Hawaii, JANET

PAULINE NELSON, the defendant, did knowingly and intentionally possess with

intent to distribute 50 grams or more of methamphetamine, its salts, isomers, and

salts of its isomers, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).

//

//

//

//

//

//

//

//

//
                                          2
   Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 3 of 6        PageID.3




      I further state that I am a DEA Special Agent and that this Complaint is

based upon the facts set forth in the “Affidavit in Support of Criminal Complaint,”

which is attached hereto and incorporated herein by reference.

      DATED: September 29, 2021, at Honolulu, Hawaii.



                                      ______________________________
                                      JOSHUA KENT
                                      Special Agent
                                      Drug Enforcement Administration


Sworn to under oath before me telephonically and attestation acknowledged
pursuant to FRCP 4.1(b)(2), this 29th day of September, 2021.



                           Andrade
                          Rom A. Trader
                          United States Magistrate Judge




                                         3
   Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 4 of 6           PageID.4




           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, JOSHUA KENT, being duly sworn, depose and state as follows:

      1.     I am a Special Agent with the U.S. Drug Enforcement Administration

(“DEA”) and have been so employed since June 2019. I am currently assigned to

the Honolulu District Office where I investigate various drug related crimes: drug

trafficking, drug manufacturing, and drug sales. I am an investigative or law

enforcement officer of the United States within the meaning of Title 18, United

States Code, Section 2510(7), in that I am empowered by law to conduct

investigations of and make arrests for federal felony offenses.

      2.     I have been involved in numerous drug-related arrests, numerous

search warrants, and surveillance operations. I have debriefed narcotics traffickers

following their arrest. I have participated in drug trafficking investigations in

which court-authorized wire interception was utilized. Based on my training and

experience, I have become well versed in the methodology utilized in narcotics

trafficking operations, the specific types of language used by narcotics traffickers,

the unique trafficking patterns employed by narcotics organizations and their

patterns of drug abuse.

      3.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other law enforcement

officers. This affidavit is intended to show merely that there is sufficient probable
   Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 5 of 6          PageID.5




cause for the specified violation of federal law and does not set forth all of my

knowledge about this matter.

      4.     On or about September 17, 2021, law enforcement conducted a traffic

stop on a vehicle being driven by JANET PAULINE NELSON (“NELSON”) for a

traffic violation. During the traffic stop, a Honolulu Police Department narcotics

detection canine alerted to the presence of narcotics near NELSON’s passenger

door. Federal agents searched the vehicle and found approximately three ounces of

methamphetamine. The agents read NELSON her Miranda rights and she waived

her rights and admitted that the methamphetamine was hers. NELSON further

admitted that she was distributing narcotics and provided both verbal and written

consent for the agents to search her residence.

      5.     During the search of NELSON’s residence, she provided agents

access to her safe. In the safe, agents found approximately two pounds of

methamphetamine and 175 gross grams of cocaine. NELSON admitted that the

methamphetamine and cocaine in the safe belonged to her, that she had a source

who was supplying her with the narcotics and that she was distributing the

narcotics to others.

      6.     The crystal methamphetamine and cocaine seized from NELSON

were field tested by DEA and showed positive for the presence of

methamphetamine and cocaine. The narcotics were then sent to the DEA


                                          2
   Case 1:21-cr-00126-JMS Document 1 Filed 09/29/21 Page 6 of 6        PageID.6




Southwest Laboratory for testing and further analysis. Results from the lab are

pending. Methamphetamine and cocaine are Schedule II controlled substances.

      7.    Based on the foregoing facts, I respectfully submit that probable cause

exists to believe that JANET PAULINE NELSON, the defendant, committed the

aforementioned offense.

      DATED: September 29, 2021, at Honolulu, Hawaii.


                                      _____________________________
                                      JOSHUA KENT
                                      Special Agent
                                      Drug Enforcement Administration


This Criminal Complaint and Agent’s Affidavit in support thereof were presented
to, approved by, and probable cause to believe that the defendant above-named
committed the charged crime found to exist by the undersigned Judicial Officer
at 2:50 p.m. on September 29, 2021.


Sworn to under oath before me telephonically, and attestation acknowledged
pursuant to Fed. R. Crim. P. 4.1(b)(2), this 29th day of September 2021.




                            Andrade
                            Rom A. Trader
                            United States Magistrate Judge




                                         3
